                             EXHIBIT C

                    PROPOSED ORDER




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    In re                                               Chapter 11

    Refreshing USA, LLC,                                Case No. 24-33919
                                                        (Jointly Administered)
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                           Debtors .


     ORDER (1) AUTHORIZING THE RETENTION AND EMPLOYMENT OF HILCO
     REAL ESTATE, LLC AS REAL ESTATE CONSULTANT (2) WAIVING CERTAIN
      TIMEKEEPING REQUIREMENTS, AND (3) GRANTING RELATED RELIEF

            Upon the application (the “Application”) of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”) authorizing the

Debtors to employ and retain Hilco Real Estate, LLC (“Hilco Real Estate”) as their real estate

advisors pursuant to the terms and conditions of the Services Agreement, effective as of the date

of the Services Agreement, as more fully set forth in the Application; and upon the First Day

Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334;

and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and

this Court having found that it may enter a final order consistent with Article III of the United

States Constitution; and this Court having found that venue of this proceeding and the

Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court

having found that the relief requested in the Application is in the best interests of the Debtors’



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 Debtors and debtors-in-possession in these Chapter 11 cases (“Bankruptcy Case(s)”), along
with the last four digits of their respective Employer Identification Numbers, are as follows:
Refreshing USA, LLC (XX-XXXXXXX) (“Refreshing”), Case No. 24-33919; Water Station
Management LLC (XX-XXXXXXX) (“Water Station”), Case No. 24-33924; and Creative
Technologies, LLC (XX-XXXXXXX) (“Creative” and, together with Refreshing and Water Station,
“Debtors”), Case No. 24-33934. Debtors’ mailing address is: 2732 Grand Ave., Ste. 122,
Everett, WA 98201.

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estates, their creditors, and other parties in interest; and this Court having found that the Debtors’

notice of the Application and opportunity for a hearing on the Application were appropriate and

no other notice need be provided; and this Court having reviewed the Application and having

heard the statements in support of the relief requested therein at a hearing before this Court, if

any; and this Court having determined that the legal and factual bases set forth in support of the

Application establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor,

       IT IS ORDERED THAT:

       1.      The Application is GRANTED.

       2.      The Debtors are authorized, pursuant to sections 327 and 328(a) of the

Bankruptcy Code, Bankruptcy Rules 2014 and 2016, and Bankruptcy Local Rules 2014-1 and

2016-1, to employ and retain Hilco Real Estate in accordance with the terms and conditions set

forth in the Services Agreement attached hereto as Exhibit 1, effective as of Petition Date.

       3.      All of Hilco Real Estate’s compensation, expense reimbursements,

indemnification, and related obligations in the Services Agreement are approved pursuant to

section 328(a) of the Bankruptcy Code, and Hilco Real Estate shall be compensated, reimbursed,

and indemnified pursuant to section 328(a) of the Bankruptcy Code in accordance with the terms

of, and at the times specified in, the Services Agreement, as modified by this Order.

       4.      The fees and expenses payable to Hilco Real Estate shall be treated as

administrative expenses of the Debtors’ estates, shall be free and clear of all liens, claims, and

encumbrances, and shall be paid by the Debtors without the necessity of further approval or of

Hilco Real Estate filing monthly or interim fee applications or otherwise complying with the

monthly, quarterly, or final compensation procedures applicable to professionals.



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       5.      Notwithstanding anything to the contrary in the Bankruptcy Code, the Bankruptcy

Rules, the Local Rules, any order of this Court or any other guideline, Hilco Real Estate’s

professionals shall be excused from (a) submitting monthly and interim fee applications as set

forth in Bankruptcy Rule 2016 and (b) maintaining time records in connection with the services

to be rendered pursuant to the Services Agreement.

       6.      With respect to the Services as they pertain to a Property sales, Hilco Real

Estate’s fee and sale commission as well as its Expenses, shall be paid at the closing of the sale

of the applicable Property.

       7.      In the event of any inconsistency between the Services Agreement, the

Application, and this Order, this Order shall govern.

       8.      Notice of the Application as provided therein shall be deemed good and sufficient

notice of such Application and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy

Local Rules are satisfied by such notice.

       9.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

       10.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Application.

       11.     Upon the earlier of the completion of its Services and the termination or

expiration of the Services Agreement, Hilco shall file a final fee application with a summary of

fees earned and expenses incurred along with a summary of the fees and expenses paid to date.

       12.     The fees payable to Hilco pursuant to the Services Agreement shall be subject to

review only pursuant to the standards set forth in section 328(a) of the Bankruptcy Code.




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        13.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

        Houston, Texas

        DATE:




                                               UNITED STATES BANKRUPTCY JUDGE



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